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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

JANE E. ADKINS,

Plaintiff,
Civil Action No.:
vs. 2:09-cv-01 123(SDW)

JOHN B. SOGLIUZZO, ESQ,
DEUTSCHE BANK ALEX BROWN, H. THIRD AMENDED COMPLAINT
THOMPSON RODMAN, L. GAYE
TORRANCE, TD BANK, N.A., and
HAVEN SAVINGS BANK,
Defendants.

 

 

Plaintiff, Jane E. Adkins, through her counsel by way of Third Amended Complaint
against Defendants, John B. Sogliuzzo, Esq., Deutsche Bank Alex Brown (“Alex Brown”), H.
Thompson Rodman, L. Gaye Torrance, TD Bank, N.A., and Haven Savings Bank states as
follows:

PARTIES

l. Plaintiff, Jane E. Adkins (“Jane Adkins or Plaintiff”) is a resident of the

Commonwealth of Virginia With an address at 9502 Lynnhall Place, Alexandria, Virginia 223 09.

2. Paragraph 2 intentionally omitted.

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3. John B. Sogliuzzo (“John Sogliuzzo”) is a resident of the State of New Jersey
with an address at 28 Great Oak Drive, Short Hills, New Jersey 07078.
John B. Sogliuzzo is a N.J.-licensed attorney and operates a law practice at 50 Northfield
Avenue, Suite 200, West Orange N.J. 07052.

4. L. Gaye Torrance (“Gaye Torrance”) is the wife of John B. Sogliuzzo and is a
resident of the State of New Jersey with an address at 28 Great Oak Drive, Short Hills, New
Jersey 07078.

5. H. Thompson Rodman (“Rodman”) is an individual who is a resident of the State
of New York with a residence of 4 Dellwood Circle, Bronxville, New York 10708.

6. AleX Brown is a corporation founded under the laws of the State of Delaware with
an address at 60 Wall Street, 36th Floor, New York, New York 10005. Upon information and
belief, Alex Brown is licensed to do business in the States of New York and New Jersey.

7. Paragraph 7 intentionally omitted.

8. TD Bank, N.A., is a Nationally Chartered Banking Association with its principal
place of business in the State of New Jersey (“TD Bank”).

9. Haven Saving Bank is a New Jersey Savings bank with its headquarters at 621
Washington Street, Hoboken, New Jersey. 07030.

JURISDICTION AND VENUE

lO. There is federal jurisdiction in this case as there is complete diversity between the
parties. The Plaintiff is a citizens of Virginia and none of the Defendants are incorporated here
or reside in Virginia and the amount in controversy exceeds the sum specified by 28 U.S.C. §
1332.

ll. This case is not subject to the Probate Exception because the acts complained of

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herein happened prior to the deaths of Mary T. Grimley and
Jane P. Sogliuzzo and/or involve legal issues and additional parties on which a Probate Court
cannot rule.

l2. The venue here is proper in that the District of New Jersey is the venue in which
the acts complained of were committed and the principal Defendants reside in New Jersey.

OVERVIEW

13. John Sogliuzzo is the brother of Plaintiff and is an attorney at law of the State of
New Jersey. John Sogliuzzo is the former Executor of the Estate of
Mary T. Grimley and the former Executor of the Estate of Jane P. Sogliuzzo.

l4. Beginning at least as early as January l999, upon the death of his father, John
Sogliuzzo started presiding over his mother, Jane P. Sogliuzzo’s financial affairs

15. From 1999 through her death on February 29, 2008, using his confidential
relationship as an attorney, trusted financial advisor, and son, John Sogliuzzo funneled
approximately $400,000.00 in intervivos transfers from his mother to himself, his law practice
and for the benefit of his family.

16. Four (4) months before her death, John Sogliuzzo arranged for his mother (92 at
the time) to designate her brokerage account as a transfer on death (“TOD”) account payable
only to him. The account was worth approximately $273,000.00 at the time of her death.

l7. In 2002, Jane P. Sogliuzzo’s elderly cousin, Mary T. Grimley, came to live with
Jane P. Sogliuzzo, because Mary Grimley’s health was failing, and she could no longer live
alone.

18. John Sogliuzzo established a confidential relationship with Mary Grimley by

doing her banking During her lifetime he embezzled, converted and transferred over

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$500,000.00 to himself and his wife.

l9. After Mary’s death, John Sogliuzzo assumed the role of executor of
Mary T. Grimley’s Estate. In that role, he wrote checks to himself, his wife and his law firm
totaling over $158,000.00 while distributing just $28,500.00 to his sister and just $5,000.00 to his
mother, Jane P. Sogliuzzo, all three equal beneficiaries under Mary’s will.

20. This action is brought in tort against John Sogliuzzo for his actions of
malpractice, breach of fiduciary duty, conversion, theft, embezzlement and otherwise
misappropriating over $1.2 million in assets from Jane P. Sogliuzzo and Mary Grimley; against
Gaye Torrance and Tom Rodman for their roles in assisting John in these endeavors; against
Alex Brown, Havens Savings Bank and TD Bank for their negligence and breach of fiduciary
responsibilities in failing to recognize and protect their clients from the actions of John
Sogliuzzo.

FACTS COMMON TO ALL COUNTS
A. Marv T. Grimley - Background

2l. Mary T. Grimley (“Mary”) was born on December 26, 1914.

22. Mary grew up in Hoboken, New Jersey in “a cold water flat” at 827 Garden
Street, 2nd Floor, Hoboken, New Jersey with her parents and older brothers, Matthew and James,
and baby brother, Joseph.

23. Mary never married. As the only daughter in an Irish family, she felt a great
devotion to family. She remained in the same apartment that she was raised and cared for her
parents as they became older, and then later her two bachelor brothers, James and Joseph, until
each of their deaths.

24. Mary’s brother, Matthew, married and was the only Grimley to leave their

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apartment. Matthew predeceased Mary. Matthew and his wife, Helen, had one daughter, Mary
Jane, who predeceased Mary T. Grimley.

25. Mary’s family lived through the Great Depression. Like most in that generation,
they lived very frugally, skimping and saving and putting away whatever monies they could both
in CDs, and after the war in United States Savings Bonds.

26. Also like many who lived through the Great Depression, Mary did not completely
trust banks. Throughout her life, Mary kept her purse within “eyeshot.”

27. The Grimley’s did not believe in doctors. Upon information and belief, both
James and Joseph died from illnesses that could have been treated had they sought medical
attention.

28. Mary inherited some monies from her parents and later on from her brothers,
James and Joseph.

29. Mary had no sisters of her own and was very close to her two first cousins, Jane
P. Sogliuzzo and Kathleen Grimes. Jane Sogliuzzo and Kathleen Grimes’ mother and Mary’s
mother were sisters.

30. Jane P. Sogliuzzo and Kathleen Grimes lived with their family in Hoboken just a
few short blocks away from Mary. Jane Sogliuzzo was just two (2) months younger than Mary
and because of their proximity in age, their relationship was very close.

3 l. Mary worked in New York City all of her adult life and many years with Hartford
Insurance. Mary was also a devoted churchgoer.

32. Mary valued her independence However, because she had no young family of
her own, was very close to Jane Sogliuzzo’s family which consisted of husband Walter and three

children, W. Gerard Sogliuzzo (“Gerry”), Jane Elizabeth (“Plaintiff’), and baby brother, John

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Brian Sogliuzzo (“John Sogliuzzo”).

33. Jane Adkins was Mary’s god daughter and to Mary that was a very special and
sacred relationship Mary never made it a secret that Jane Adkins was her favorite cousin.

34. Mary’s relationship with Gerry was also good. When Gerry became ordained as a
priest, Mary was tremendously proud and enjoyed addressing him as “Father Gerry” from that
moment on.

35. Mary’s relationship with John Sogliuzzo was not close. Unlike Father Gerry and
her god daughter Jane Adkins, there was no special bond between them.

36. As the years passed, Mary first lost her parents, then her brothers, then her cousin,
Kathleen. As Mary lost her own family, she remained close to Jane P. Sogliuzzo and Walter.
Other than her friend, Millie Braun, and the church, the Sogliuzzo’s remained Mary’s closest
family,

37. Mary’s god daughter, Jane Adkins married Charles Adkins and moved out of
state.

38. Although Jane Adkins was out of state, their relationship never waned. Mary
made several overnight trips to the Adkins’ homes. The Adkins and their children were frequent
visitors to Mary Grimley and Jane and Walter Sogliuzzo.

39. Kevin Adkins, Jane and Charlie Adkins’ son moved into his grandparents home
located at 1228 Bloomfield Street (the “Hoboken House”) in August 1998 and remained there
until March of 2001 when he got married and purchased his own condo two blocks away from
his grandparents

40. Diana, Kevin’s fiance, who he had dated since high school, had moved to

Hoboken in June 1998 and was initially staying in the Hoboken House’s third floor apartment

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In August 1998 she moved three (3) doors down until her marriage to Kevin. At that time, they
bought and lived in a condominium two blocks away.

41. While in Hoboken, Kevin and/or Diana would often look in on Mary and Jane P.
Sogliuzzo to visit with them and make sure they were both okay.

42. Kevin and Diana often took Mary and/or Jane P. Sogliuzzo grocery shopping and
each shopped on their own.

43. Although she was increasingly becoming less mobile, Mary continued to hold on
to her independence and walked to mass daily until September 2002.

44. From 1998 to 2002, Kevin would occasionally find Mary on the floor in her
apartment as she had fallen and was not able to get up.

45 . Once, while slowly exiting a cab the cab pulled away and Mary ended up lying
injured in the street Another time, she was brushed by a car, fell to the ground and refused
medical treatment On other occasions, she fell in the street and required strangers to help her to
her feet.

46. It was Kevin who found Mary on her floor in her apartment in the Spring of 2002.
Mary had fallen and remained on the floor for two days. Kevin immediately called an
ambulance and John Sogliuzzo. Mary was taken by ambulance to the hospital where she was
treated for dehydration and released. Kevin cleaned the floor of her apartment which Mary had
soiled while she lay there.

47. In appreciation for the personal care, assistance and companionship that Kevin
provided to Mary while living in Hoboken, she acknowledged her appreciation by setting up an
“in trust” savings account for Kevin in the amount of $5,000.00. Kevin was the only child of

Jane or John to be given this bequest

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48. Although Mary’s physical condition continued to decline she was reluctant to go
to any doctor. She never had a regular physician before her fall in Spring 2002 at which time she
began to use Jane P. Sogliuzzo’s physician.

49. By the Summer of 2002, Mary’s physical and mental health had deteriorated to
the point at which she could no longer live alone and she finally and reluctantly acknowledged it.
The family finally convinced Mary that she should move in with Jane P. Sogliuzzo.

B. Mary Moves in With Jane Sogliuzzo

50. In September 2002, Mary moved into the 3rd floor apartment of the Hoboken
House.

51. Jane P. Sogliuzzo had a daily caretaker, Verona, who worked Monday through
Friday from 9:00 a.m. until 4:00 p.m. who could also look in on Mary.

52. After Mary had moved in with Jane P. Sogliuzzo, Jane Adkins and John
Sogliuzzo cleaned out Mary’s apartment While performing the cleaning, Jane Adkins
discovered six round cookie tins in Mary’s closets. When she opened the first cookie tin, Jane
discovered that the tin contained envelopes stuffed with cash. lt appeared that there was
$16,000.00 to $20,000.00 in that first tin.

53. Jane Adkins immediately called John Sogliuzzo who came over. Together, Jane
Adkins and John Sogliuzzo opened every cookie tin and counted and recounted the monies,
placing an index card in the tin with the amount of monies in that tin. The denominations of the
bills were also recorded.

54. When the monies were finally counted from the tins, the cash was between
$65,000.00 and $80,000.00. John Sogliuzzo kept the only copy of the reconciliation.

55. Jane Adkins and John Sogliuzzo then went to see Mary with the cash and

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suggested that John Sogliuzzo deposit the monies into Mary’s bank account

56. Mary agreed and John Sogliuzzo left with the cash.

57. That weekend, Charles Adkins and Gaye Torrance joined Jane Adkins and John
Sogliuzzo in cleaning out Mary’s apartment Throughout the weekend, they continued to find
large quantities of cash hidden throughout the apartment in drawers, closets and in clothes.

5 8. All monies found were given to John Sogliuzzo for deposit into Mary’s accounts.

59. Even after that weekend, as Jane Adkins continued to dispose of items
accumulated for seventy-six (76) years, Jane Adkins found another $1,200.00 in cash in a bag
under the dining room table. Jane Adkins asked Mary where to put it and Mary told her in the
closet in the kitchen in her 3rd floor apartment at the Hoboken House. Jane Adkins did as
instructed.

60. Mary’s physical and mental condition continued to deteriorate. To contribute to
her feelings of independence, Kevin Adkins and his wife Diana continued to take Mary to church
on Sunday and on their frequent grocery shopping trips where she shopped alone. At the end of
one such grocery shopping trip in late 2003, Mary had nothing in her grocery cart and was
disoriented.

61. ln or about late 2003 or early 2004, Mary started showing additional signs of
being mentally confused. She would dress for church at odd times on all days of the week,
believing it was Sunday. She would also dress up and get ready for imaginary lunches in
Manhattan with friends of hers that were already deceased.

62. From the time Mary moved into the Hoboken house, she and Jane had a nightly
ritual. Mary would come down after dinner, and she and her cousin would watch Jeopardy and

Wheel of Fortune together every night

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63. By 2004, Mary would come down the stairs on her bottom as she could no longer
brave the stairs on her feet for fear of falling

64. In February 2004 unbeknownst to Plaintiffs, John Sogliuzzo prepared a Power of
Attorney for Mary. Upon information and belief, there were no witnesses to Mary’s signing of
the Power of Attorney. Although his mother and her caretaker were downstairs, they did not
witness the Power of Attorney.

65. Upon information and belief, instead, John Sogliuzzo took it back to his office,
where he had his assistant sign as a witness, even though she was not present Upon information
and belief, this was a standard practice for John Sogliuzzo.

66. Mary had never wanted anyone to know her financial business. She had been
careful all her life not to let anyone know about her finances. Even with her failing faculties and
physical ailments, Mary remained a proud and independent woman who resisted disclosing her
financial matters to anyone including members of her family, Mary still always kept her purse
close at hand keeping it within her sight

67. Once he had Mary’S Power of Attorney, John set up another account for Mary at a
brand new bank, Hudson Bank. That is the account that John used.

68. Upon information and belief, John Sogliuzzo stopped by the Hoboken House once
a week usually on Friday afternoons to do Jane P. Sogliuzzo (his mother’s) and Mary’s banking
He had been doing his mother’s banking since at least 1999 when his father died and Mary’s
banking since September 2002 without a Power of Attorney.

69. Upon his arrival, John Sogliuzzo would write out checks for Jane P. Sogliuzzo’s
bills and then go upstairs to Mary’s apartment for the same purpose, to write out her checks.

70. Although Jane Adkins was present on several of these occasions when John

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Sogliuzzo visited Jane P. Sogliuzzo and Mary to write out checks, Jane Adkins never
accompanied her brother upstairs to see him write checks for Mary.

71. Mary’s physical and mental conditions continued to deteriorate from 2004 until
her death in 2006. During her last year of life, her dementia was so prevalent that she did not
recognize very many people and this very modest woman would continually disrobe. She also
required a hospital bed to keep her from falling out of bed. During the last few weeks of her life,
Mary was under the care of Hospice.

72. Mary died on October 16, 2006, at the age of ninety-one (91).

C. John’s Administration of the Estate of Mary T. Grimley

73. The Last Will & Testament of Mary T. Grimley (“Mary’s Will”) executed June
27, 1996 was admitted to probate in October, 2006.

74. John Sogliuzzo and his mother, Jane P. Sogliuzzo, were named as
co-executors.

75 . Upon information and belief, John B. Sogliuzzo convinced his mother, then
ninety (90) years old to step down as co-executor of Mary’s Will. John Sogliuzzo was granted
letters testamentary on October 30, 2006.

76. The terms of Mary’s Will provides that she leaves one-seventh (1/7) of her estate
to each of the five (5) members of the Sogliuzzo family, Jane P. Sogliuzzo, Walter, Father Gerry,
Jane Adkins and John Sogliuzzo and one-seventh (1/7) each to Our Lady of Grace Catholic
Church in Hoboken and to Millie Braun, a long time friend.

77. Since Walter and Gerry had predeceased Mary, the Will provided that their shares
were to be split equally between the remaining members of the Sogliuzzo family,

78. Per Mary’s Will, the distribution of her Estate was to be:

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John B. Sogliuzzo 1/3 (5/7) = 23.8%
Jane P. Sogliuzzo 1/3 (5/7) = 23.8%
Jane E. Adkins 1/3 (5/7) = 23.8%
Melitta Brown 1/7 = 14.3%
Our Lady of GraceCatholic Church 1/7 = 14.3%

79. In January 2008, John Sogliuzzo handed a single check, dated December 19,
2007, to Jane Adkins in the amount of $28,750.00, telling her that this amount was her entire
share of Mary’s Estate, and adding that she had done very well from family inheritances in 2007.

80. Although the distribution check to Jane E. Adkins was dated December 19, 2007
as were the checks to the other beneficiaries, John B. Sogliuzzo never sent the check to her.
lnstead, he waited to give the check to her in person on her next trip to Hoboken, but only after
she had signed a Release and Refunding Bond in his presence.

81. On or about January 8, 2008, John Sogliuzzo made a special trip to Hoboken. He
met Jane Adkins at church, went with her for coffee, returned with her to 1228 Bloomfield
Street, but did not go in, even though his mother was inside.

82. Just prior to saying goodbye, he asked her to wait outside in front of the house
while he went to his car to get the distribution check that he said he had almost forgotten about

83. At that point he handed Jane Adkins the letter and the Release and Refunding
Bond and directed her to sign it in order for her to receive the check. He did not fully explain
what she was signing or give her an opportunity to consult with anyone. There was no one else
present, but John Sogliuzzo said he would have his assistant, Paula, notarize it at a later date
back in his office. Upon his direction, Jane Adkins signed the Release and Refunding Bond on
the hood of the car. John then gave her the check and left without going inside to see their
mother.

84. John Sogliuzzo provided Jane Adkins with no documents, no accounting and no

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information on the Estate of Mary Grimley although he was asked to do so on several occasions.
85. To date, he has not filed a final accounting on the Estate of Mary Grimley.
D. The Sogliuzzo Familv - Background

86. Walter and Jane Sogliuzzo moved out of their two (2) bedroom Hoboken
apartment and purchased the Hoboken House in 1968 when John Sogliuzzo was 12 years old.

87. John Sogliuzzo graduated from Fairfield College in 1978; received a law degree
at Seton Hall University; clerked for a judge; worked as a prosecutor in Hudson County; married
Gaye Torrance, a Pittsburgh socialite; joined a small firrn; and then eventually opened his own
practice.

88. Walter and Jane Sogliuzzo loaned monies to John Sogliuzzo to buy his own home
in Hoboken. In September 1987, John Sogliuzzo and Gaye Torrance sold their house in
Hoboken and purchased a house in Short Hills.

89. Once John Sogliuzzo and his family moved to Short Hills, John Sogliuzzo
gradually distanced himself and his family from his parents and from his brother, Gerry. Except
for Christmas dinner at his home, John rarely had his mother, his father, and Gerry visit him in
his Short Hills home.

90. His father, Walter would often complain that John Sogliuzzo and/or Gaye
Torrance would not bring the grandchildren to see them, about the slow repayment of John’s
original house purchase loan, and with John Sogliuzzo’s “high and mighty” lifestyle in Short
Hills,

91. Over time, John Sogliuzzo’s relationship with his father deteriorated In one
dispute at the dinner table, in an argument with his father, John Sogliuzzo jumped up, said “one

day I will be able to buy and sell you”, and walked out

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92. Because of John Sogliuzzo’s distancing himself and his family from his parents
and his modest, middle-class, Catholic upbringing, John Sogliuzzo and his family did not receive
any special financial consideration from his parents, at least not while Walter was alive. The
following table of annual birthday checks demonstrates that fact

Walter & Jane Sogliuzzo
Prior Years Birthday Checks to Children & Grandchildren

 

1995 1996 1997

_S_L

Rev. W. Gerry Sogliuzzo 3100 $500 $100

Daughter:

Jane E. Adkins 350 350 350
Charlie, Husbana’ 350 $50 $50
Chris, SOn 350 350 350
Kevin, Son 340 100* 350
Tim, Sol’l 340 350 350

_S__Ql_i_:

John B. Sogliuzzo 340 $45 $50
Gaye Torrance, Wife NA NA NA
Caraline, Daughter NA NA NA
Jay, Son NA NA NA

NA.' No Recora’ of Birthday Checks

* Kevin's 21 st Birthday

E. John Sogliuzzo Takes Over Jane Sogliuzzo’s Finances
93. Walter Sogliuzzo died in January 1999.
94. Before his death, Walter took care of all of Jane P. Sogliuzzo’s finances, although
Jane P. Sogliuzzo wrote most of the checks for the family,

95. Neither Jane P. Sogliuzzo, nor her husband, Walter, were exceptionally generous

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people by nature. During Walter’s lifetime, neither Jane P. Sogliuzzo nor Walter gave large or
extravagant gifts, cash or otherwise, to any of their children or their grandchildren. The only
exception was the continued financial assistance to their son, Gerry, a Catholic priest with very
limited income.

96. They did, however, loan monies from time to time to their children which Jane P.
Sogliuzzo and Walter insisted be repaid.

97. Beginning with his father’s death in January 1999, John Sogliuzzo, without a
Power of Attorney, assumed control of Jane P. Sogliuzzo’s finances. Except for occasional
small checks which Jane P. Sogliuzzo wrote on her own; most of her checks were prepared by
John Sogliuzzo including all those for significant sums.

98. John set up a new checking account for his mother and closed his parents' joint
account

99. Upon information and belief, John Sogliuzzo signed these checks in his mother’s
name or handed the checks to Jane P. Sogliuzzo for her signature

100. In April/May 1999, John Sogliuzzo closed several Jane P. Sogliuzzo’s bank
accounts and set up an Alex Brown Investment Account (the “Alex Brown Account”) in her
name. The Alex Brown Account was set up with John Sogliuzzo’s own Alex Brown broker,
Tom Rodman. John was designated to manage the account and he alone did so.

101. John Sogliuzzo funded this account via transfers from Jane P. Sogliuzzo’s CDs
and savings accounts. Although Jane P. Sogliuzzo was a bright woman she had no experience
managing her finances or investments and relied on John Sogliuzzo for these functions.

102. Further, because he is a lawyer and her son, Jane P. Sogliuzzo relied on John

Sogliuzzo to protect her interests and give her proper advice. She trusted him implicitly.

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103. In about 2002 at the age of eighty-seven (87), Jane P. Sogliuzzo suffered a broken
Shoulder. She required a housekeeper/caregiver during the day to assist her in doing housework,
getting around and performing day to day household functions including dressing, bathing and
cooking

104. From late 2002, Jane P. Sogliuzzo’s health continued to deteriorate. By 2005, her
eyesight was progressively failing, she had trouble breathing and on some days she was mentally
absent, meaning she just didn’t care.

105. In or about 2005, Jane P. Sogliuzzo’s physical condition had deteriorated to the
point that a full time caregiver “Anna” was hired to take care of Jane P. Sogliuzzo and Mary T.
Grimley.

106. John Sogliuzzo, being the closest in geographical proximity to
Jane P. Sogliuzzo, arranged for her physical care, Approximately once a week on Friday
afternoons, John Sogliuzzo stopped by the Hoboken House to perform bill paying and banking
for Jane P. Sogliuzzo and Mary,

107. On November 20, 2006, unknown to the Plaintiffs, John Sogliuzzo had Jane P.
Sogliuzzo execute a General Power of Attorney for his benefit The only person to witness the
signatures was Paula Marie Iannia, John’s legal assistant Upon information and belief, the
document was signed by Ms. Iannia at John’s office in Newark while Jane P. Sogliuzzo never
left Hoboken.

108. Jane P. Sogliuzzo died on February 29, 2008 at the age of ninety-three (93).

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F. John Sogliuzzo’s Dealings with his Sister

109. Shortly after his mother’s funeral on March 4, 2008, John Sogliuzzo met with his
sister alone and informed her for the first time that his mother had made him the sole beneficiary
of her Alex Brown account

110. At that same meeting, he further informed his sister that other than the Hoboken
House there was little left in the Estate. He suggested that they form a corporation to allow him
to rent out the Hoboken House until he could raise the money to buy Jane Adkins’ share.

111. Jane Adkins was shocked that her mother’s bank accounts had been fully depleted
and hurt that her mother had never told her of her intent to leave John Sogliuzzo essentially what
he described as the entirety of her remaining liquid assets. Jane Adkins was also puzzled as to
why John Sogliuzzo did not have the money to buy her half of the house or could not take out a
mortgage on his Short Hills home or a loan to do so.

112. John Sogliuzzo suggested he run this proposal to form a corporation past Charlie.
Jane Adkins agreed.

113. The two went directly to the Hoboken House and met with Charlie. When the
proposal on setting up a corporation to rent out the house was made to Charlie, John Sogliuzzo
did not mention his claims to the Alex Brown Account

114. Later, when Jane Adkins informed Charlie of this unexpected claim of John
Sogliuzzo to the entirety of the Alex Brown Account, Charlie was dumbfounded and could not
believe that Jane P. Sogliuzzo would have agreed to that

115. Jane Adkins was equally puzzled and decided to call John Sogliuzzo that same
evening (March 4, 2008) to confirm that she had heard him correctly ~ that the Alex Brown

Account was totally for him.

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116. John Sogliuzzo was furious that Jane Adkins had called him while he was
attending his son’s hockey game. When asked by Jane about the TOD agreement John
Sogliuzzo said that it was done about a year and a half before and that it was what their mother
wanted.

117. When Jane Adkins challenged him on this point and could not accept these
circumstances as true, John Sogliuzzo shouted, “go ahead and sue me for undue influence.”

118. Jane Adkins told John Sogliuzzo that she was very upset, that she and her
husband were leaving Hoboken that night, and that she would not agree to the TOD arrangement

119. Before leaving, Jane and Charlie Adkins checked Jane P. Sogliuzzo’s kitchen and
closets and noted that there were numerous files and redwell folders containing her mother’s
financial, banking and invoice records.

120. The very next day, March 5, 2008, John Sogliuzzo and Gaye Torrance came to
the Hoboken House to retrieve documents Jane Adkins son, Timothy, was still staying at the
house. John Sogliuzzo spoke with Tim, asking him at length about his experiences and plans.

121. Meanwhile, Gaye Torrance was free to move about the house.

122. When Tim noted that they were leaving with a number of folders and records,
John Sogliuzzo told him that they were there to get data necessary for tax returns.

123. Shortly thereafter, Jane Adkins confronted John Sogliuzzo and questioned him
again regarding their mother’s Alex Brown Account John Sogliuzzo assured her that converting
that account to a Transfer on Death (“TOD”) account was strictly their mother’s idea. This time
he told Jane Adkins that it had been set up as a TOD one (1) year before her death and not a year
and a half as he had previously maintained

124. On March 13, 2008, by e-mail, Jane Adkins asked John Sogliuzzo not to probate

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Jane P. Sogliuzzo’s Will and not assume the role of Executor until she had an opportunity to
meet with him and get some details and questions answered about the TOD account

125. Despite her questions and concerns on the Estate of Jane P. Sogliuzzo, John
Sogliuzzo ignored his sister’S requests and probated the Will of Jane P. Sogliuzzo on March 13,
2008.

126. Later John Sogliuzzo claimed that he did not read the e-mail until after his return
from Hudson County Surrogate Court where he had probated the will.

127. Jane and Charlie Adkins returned to the Hoboken House for the Easter holiday,
March 20-24, 2008. At that time, Charlie reviewed many of Jane P. Sogliuzzo’s financial
records remaining in the Hoboken House. The records showed a trail of financial irregularities
and self dealings that John Sogliuzzo had perpetrated with respect to his mother’s accounts since
at least August 2000. Charlie also searched for and reviewed the financial records of Mary that
remained in her 3rd floor apartment Charlie took notes on what he found.

128. Shortly thereafter, Jane Adkins officially notified John Sogliuzzo that she was
revoking the Release and Refunding Bond in Mary’s Estate and informed him that she and
Charlie had seen evidence of his transgressions

129. In a further attempt to resolve the issues without the intervention of third parties,
Jane Adkins again met with John Sogliuzzo on April 4, 2008 at Union Station in Washington,
D.C. She went alone at John’s insistence

130. There, when questioned, John Sogliuzzo was evasive, defensive and continued to
maintain that he had done nothing wrong, that it was entirely his mother’s idea to leave the TOD
account to him. He accused Jane Adkins of only being interested in the money and that she

would get an accounting of Mary’s Estate only when it was finalized. He said he would not

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provide documents in a “piecemeal manner.” He also advised her that if he had to hire an
accountant to do an accounting, it would cost even more money.

131. Shortly thereafter, John Sogliuzzo directed Jane Adkins to his counsel, Robert
Gigl, Esq. for all communications with respect to these matters.

132. Upon information and belief, sometime after Jane and Charlie’s Easter visit, John
and/or Gaye returned to the Hoboken Home and removed all of Jane Sogliuzzo’s financial
documents, files, and redwell folders, as well as Mary’s checking account notebooks and
possibly other financial documents and records.

133. Eventually, after a writing campaign in which he professed no wrongdoing and
accused his sister about “being only about the money” and when faced with the evidence, John
Sogliuzzo produced documents that revealed that he had violated his mother’s trust, his cousin
Mary’s trust, his sister’s trust and had transferred over one million dollars ($1,000,000.00) from
Mary Grimley and Jane P. Sogliuzzo both in intervivos and post death transfers to himself and
for the benefit of his family.

G. Intervivos Transfers from Jane P. Sogliuzzo’s Monies

134. Since at least September 2000, if not earlier (statements not yet available) John
Sogliuzzo wrote (or had Jane P. Sogliuzzo sign and/or write) checks to himself By the date of
Jane P. Sogliuzzo’s death, John Sogliuzzo had written checks to himself or for his family’s
benefit for a sum in excess of 358,000.00. Approximately ten (10) checks were written, with
individual values between $1,000.00 and 315,000.00.

135. Also during the period of January 2001 to February 2008, John Sogliuzzo wrote
forty-five (45) checks to “Cash” in excess of $1,000.00 each. The check size ranged from

31 ,000.00 to 33,500.00 for a total of 357,175.00.

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136. Upon information and belief, John Sogliuzzo signed (forged) his mother’s name
on many of the checks to himself and on most of the large checks to “Cash”, even before he
received Power of Attorney in November 2006.

137. Upon information and belief, in 2004 and 2005, it appears that Jane P. Sogliuzzo
was personally signing most of the weekly checks for “Cash”. At this time, the cash checks were
generally in the 8300.00 - $500.00 range, with some checks at $875.00.

138. During the period of August 2000 to January 2002, John Sogliuzzo wrote
seventeen (17) checks to John B. Sogliuzzo, Esq. or the Law Offices of John B. Sogliuzzo for an
aggregate amount of $99,800.00. These checks were deposited into John’s Attomey Business
Account

139. In 2007, the year preceding Jane P. Sogliuzzo’s death, when she was ninety-two
(92), John Sogliuzzo withdrew essentially the entire balances in two of her three remaining
savings accounts, leaving balances of only $1,038.00 and $528.00 respectively in these two (2)
accounts.

140. From Jane P. Sogliuzzo’s Hudson United Bank (“HUB”) Account No.
*****16301, John made twenty-two (22) withdrawals totaling $39,350.00. As much as
$23,850.00 of that was never deposited into a Jane P. Sogliuzzo account

141. From Jane P. Sogliuzzo’s HUB Account No. *****00948, John made twenty-
nine (29) withdrawals totaling 3102,300.00. $47,050.00 of these funds was not deposited into
any Jane P. Sogliuzzo account

142. Essentially all of the withdrawal amounts actually deposited into the Jane
Sogliuzzo’s checking account was subsequently removed via check to John Sogliuzzo or to his

law firm or for his benefit

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143. Even without considering the $273,000 in the TOD account, based upon records
produced to date, it appears that John Sogliuzzo has taken approximately 3395,000.00 in
intervivos transfers from Jane Sogliuzzo, via checks to himself, to his children’s school (Pingry),
and to his legal practice; via large checks to cash; and via “shorting” the transfers from Jane P.
Sogliuzzo’s savings accounts to Jane P. Sogliuzzo’s checking accounts.

144. In addition, as Executor to the Estate of Mary T. Grimley, John Sogliuzzo failed
to issue proper estate distribution checks due Jane P. Sogliuzzo, shorting her by an amount likely
to be in excess of $200,000.

H. John Sogliuzzo Takes Over Mary’s Finances

145. Not long after Mary T. Grimley moved into the third floor apartment and John
Sogliuzzo took over the management of her financial affairs, there occurred an unusual
redemption of Mary’s savings bonds.

146. 0n December 27, 2002, John Sogliuzzo deposited $21,739.20 into Mary’s
checking account using the proceeds of savings bond redemptions.

147. Such a large redemption was highly unusual in that Mary did not cash in her
savings bonds, many of which were purchased by her and her family members from 1950 ~
1980. Instead, she lived off of her pension and Social Security benefits and the interest earned
on her many savings and time deposit accounts.

148. She believed in the old school adage of “never touching the principal.”

149. Upon information and belief, it appeared at the time that John Sogliuzzo had
either convinced her, or had undertaken on his own, a program to distribute a portion of her

estate to her intended beneficiaries on an annual basis.

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150. 0n the same date, December 27, 2002, John Sogliuzzo prepared checks in the

following amounts to Mary’s surviving beneficiaries:

Beneficia_r}; Check Amount Estate Share
John B. Sogliuzzo 310,000 1/4 of 5/7
Jane P. Sogliuzzo 310,000 1/4 of 5/7
W. Gerard Sogliuzzo - 0 - 1/4 of 5/7
Jane E. Adkins 37,500 1/4 of 5/7
Our Lady of Grace CC - 0 - 1/7
Melita Braun $1,000 1/7

151. The size of the checks to himself and his mother were out of proportion to Mary’s
other intended beneficiaries

152. From the period September 2002 through Mary’s death in October 2006, John
Sogliuzzo helped Mary with her banking and financial matters During this period, Mary

received over 392,000 in Pension and Social Security Benefits, as shown in the table below:

 

grigg Ma§y’s Pension :Marv’s Social Security Benef'lts
SEP - DEC 2002 3 3,543 3 3,632
2003 310,630 311,253
2004 310,630 311,253
2005 310,630 311,582
Thru OCT 2006 3_&8_9§ 3_10,U
Period Total: 344,331 347,765

GRAND TOTAL: _3_9;LM

(Source: Mary T. Grimley’s tax returns for 2002-2006)

153. Upon information and belief, these benefits were paid by checks via U.S. Mail.
There is no record of any of these funds being deposited into any of Mary’s checking or savings
accounts

154. All of Mary’s living/household expenses were paid by check, except what she
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spent on groceries, which was very little at the beginning of this period, and essentially nothing
in the last two years when she was fed by the live-in caretaker, Anna, whom she shared with Jane
P. Sogliuzzo.

155. Upon information and belief, John Sogliuzzo cashed these checks Although a
fiduciary, John Sogliuzzo has provided no accounting of the receipts, disbursements and uses of
any of these funds, and he has refused to do so.

I. John Sogliuzzo’s Misappropriations from Mary T. Grimley’s Accounts

156. The documents that John Sogliuzzo eventually turned over to his sister indicate
that from the time she moved into the Hoboken House, John Sogliuzzo redeemed Mary’s United
States Savings Bonds on twenty-seven (27) occasions starting on December 27, 2002 and ending
on September 22, 2006. The total of these redemptions equal 33 52,278.45 .

157. Of that total, twenty-one (21) of the redemptions were not fully deposited in any
account held by Mary Grimley totaling a 379,975.78 shortage This “shorting” started in January
31,2005andconunuedundlSepwndwr22,2006

158. From December 23, 2003 to October 10, 2006, John Sogliuzzo withdrew
3124,867.42 from Mary’s Haven Savings Bank savings account number *1699. Of that, seven
(7) withdrawals were not fully deposited with a total shortage of 328,850.00. This “shorting”
started on August 6, 2006 and continued until September 15, 2006.

159. From December 30, 2002 until September 19, 2006, John Sogliuzzo wrote thirty-
two (32) checks to himself and his family totaling 3200,106.00 from Mary’s checking account
Of these checks, the largest were the ones he wrote to Gaye Torrance on February 10, 2005 in
the amount of 320,000.00; and another he wrote to himself in the same amount on September 6,

2006.

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160. In addition to these, John Sogliuzzo wrote thirty (30) large checks in the amounts
of $1,000.00 or more to “Cash” on Mary’s accounts totaling 343,267.00 starting on January 7,
2003 and ending on November 28, 2007. The largest check of 34,500.00 written to cash was
written on September 1, 2005, and the smallest check was of 31,000.00 was written on March
25, 2005.

161. Therefore, prior to Mary’s death, John B. Sogliuzzo wrote approximately thirty
(30) checks to himself in the amount of $161,865.80, five (5) checks to his wife, Gaye Torrance
totaling 341,000.00, one (1) check to John B. Sogliuzzo, Esq. in the amount of 38,500.00 and
approximately thirty (30) large checks to Cash in the amount of 352,278.61, for a total in checks
of 3263,644.00.

162. In addition, during Mary’s lifetime, John Sogliuzzo shorted her savings bond
redemptions in the amount of at least 379,975.78 and shorted withdrawals from savings accounts
of 328,850.00. As a consequence, during her lifetime, John Sogliuzzo and his wife, L. Gaye
Torrance, received 3372,470.00 from Mary’s accounts

163. Additionally, there is no evidence that the approximately 370,000.00 to
380,000.00 in cash collected from the cookie tins, clothes, drawers, etc., and given to
John B. Sogliuzzo, when her apartment was cleaned out, was ever deposited into any of Mary’s
account

164. Finally, there is no evidence that the 392,000.00 from Mary’s pension and social
security ever made it to her accounts or was used for her care,

165. Upon information and belief, the checks written to John B. Sogliuzzo and his
wife, Gaye, were deposited into either joint accounts, John B. Sogliuzzo’s accounts,

L. Gaye’s accounts, or John B. Sogliuzzo’s attorney business account or possibly the accounts of

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their children.

166. The monies John B. Sogliuzzo obtained in cash or withheld from savings bond
redemptions and savings account withdrawals were either similarly deposited in the above
accounts or kept as cash and spent by John B. Sogliuzzo and/or L. Gaye Torrance for their own
benefit or that of their family. These intervivos conversions total in excess of 35 30,000.00.

J. Transfers from The Estate of Marv T. Grimley

167. As Executor to the Mary T. Grimley Estate, John B. Sogliuzzo made two (2)
major deposits into the Estate Trust account, as listed below:

November 1, 2006 $95,854 Roughly 50% of Mary’s various saving accounts
March 22, 2007 3117,662 Redemption of a portion of Mary’s remaining
Savings Bonds

168. John B. Sogliuzzo then proceeded to draw down this account by writing eighteen

(18) checks to himself, and one (1) check to his law practice in the amounts listed below;

Total checks to John Sogliuzzo: 3150,350
Checks to John Sogliuzzo (Esq): § 5,000
Subtotal 3 1 5 5 ,3 50

169. By November 8, 2007, having paid both legitimate estate expenses and having
written the $155,350.00 in checks for his own benefit, the Mary T. Grimley Estate Trust Account
was depleted down to only 35,927.00.

170. Then on November 8, 2007, John B. Sogliuzzo closed out Mary’s remaining bank
accounts depositing another 3100,766.00 into the Estate trust account

171. From this total John Sogliuzzo wrote three (3) checks of 328,750.00 to each of
Jane E. Adkins, Melitta “Millie” Braun, and Our Lady of Grace Catholic Church. No definitive

distribution checks were written to John B. Sogliuzzo or Jane P. Sogliuzzo at that time.

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172. Per Mary’s Will, the distribution of her Estate was to be:

John B. Sogliuzzo 1/3 (5/7) = 23.8%
Jane P. Sogliuzzo 1/3 (5/7) = 23.8%
Jane E. Adkins 1/3 (5/7) = 23.8%
Melitta Brown 1/7 = 14.3%
Our Lady of Grace Catholic Church 1/7 = 14.3%

173. Without considering the greatly depleted value of the Estate, due to his intervivos
conversions the checks written were in the wrong proportion. If Millie and Our Lady of Grace
Catholic Church received 328,750.00, Jane E. Adkins and her mother should have received
348,850.00 each. Jane E. Adkins only received 328,750.00.

174. Jane P. Sogliuzzo was issued no distribution check at that time, but
John B, Sogliuzzo wrote two (2) $2,500.00 checks to her - one before these distributions on
November 5, 2007, and one after, on January 24, 2008,

175. Before making the December 19, 2007 “final” distribution to the beneficiaries
John B. Sogliuzzo, as executor, had cashed in 3117,658.58 in United States Savings Bonds.

176. On January 4, 2008, John made one additional redemption of Mary’s United
States Savings Bonds in the amount of 322,593.04.

177. Before making the December 2007 distributions to the other beneficiaries John
Sogliuzzo wrote twelve (12) checks in the amount of 3127,500.00 to himself and
L. Gaye Torrance.

178. After the final distribution of December 19, 2007, John wrote six (6) additional
checks to himself and L. Gaye Torrance totaling 322,850.00 starting on January 4, 2008 and
ending on February 21, 2008.

179. In addition, John B. Sogliuzzo wrote one check to his law firm in the amount of

35,000.00 on February 28, 2007.

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180. John B. Sogliuzzo proceeded to draw down the account to a balance of 3268.08
on February 22, 2008.

181. However, John had forgotten about the income tax liability for the
Mary T. Grimley Estate. With essentially no money in the account, John was forced to find
330,000.00 to pay these tax obligations

K. The Alex Brown Account and the Set Up of the TOD Account

182. In October 2007, rather than a year earlier as John Sogliuzzo had told
Jane E. Adkins when Jane P. Sogliuzzo was ninety-two (92) years old with her eyesight and her
faculties failing and her breathing impaired, John B. Sogliuzzo arranged for a meeting between
his mother and his Alex Brown broker, Tom Rodman.

183. Upon information and belief, at this meeting which was held at a local restaurant,
someone apparently prepared a handwritten note authorizing the transfer of Decedent’s Alex
Brown Account to a TOD account which Jane P. Sogliuzzo apparently signed. She also signed
the official transfer form.

184. By 0ctober 2007, Jane P. Sogliuzzo’s eyes burned non-stop and she kept them
closed most of the time.

185. Upon information and belief, John Sogliuzzo afforded Jane Sogliuzzo no other
counsel other than his own and that of his Alex Brown broker, Tom Rodman.
Upon information and belief, Tom Rodman had no personal knowledge of
Jane P. Sogliuzzo’s will, potential beneficiaries and other financial assets and was not
professionally qualified to provide legal advice.

186. Upon information and belief, on October 17, 2007, Jane P. Sogliuzzo’s Alex

Brown Account was converted to a TGD account to John B. Sogliuzzo’s benefit in the sole

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presence of Tom Rodman using authorization documents prepared by
Tom Rodman.

187. At the time of Jane P. Sogliuzzo’s death on February 29, 2008, the TOD account
was worth approximately 3273,563.31.

188. In April 2008, in spite of knowing that this account was in dispute,
John B. Sogliuzzo transferred 3107,000.00 of the money from Jane P. Sogliuzzo’s Alex Brown
Account to a “special account” at his own bank, Hilltop Community Bank, to fund his own
account Upon information and belief, he used 330,000.00 of these monies to cover the taxes
due from Mary T. Grimley’s Estate.

189. Upon information and belief, at the time the TOD account was set up,
Jane P. Sogliuzzo had no counsel other than her son John B. Sogliuzzo and never intended to
leave these monies exclusively to John B. Sogliuzzo.

190. Upon information and belief, at the time the TOD account was set up, because of
her advanced age and deteriorated physical and mental condition,
Jane P. Sogliuzzo could not read the documents and therefore could not understand the act or its
consequences

191. In fact, John B. Sogliuzzo had prepared and had his mother sign a General Power
of Attomey because of her incapacitation back on November 20, 2006 almost a year earlier.

192. Upon information and belief, at the time the TOD account was set up,
Jane P. Sogliuzzo did not know of, and was unaware of the activities of her son,
John B. Sogliuzzo, with respect to herself and/or Mary T. Grimley.

193. According to John B. Sogliuzzo, he only told his mother he had financial

pressures and needed help from time to time.

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L. The Estate of Jane P. Sogliuzzo

194. Confronted with his own actions on or about July 2008, John B. Sogliuzzo
voluntarily filed an Order to Show Cause resigning as Executor of the Estate of
Jane P. Sogliuzzo.

195. Jane Adkins assumed the role of Executrix pursuant to a Court Order dated
September 2, 2008,

196. John Sogliuzzo has steadfastly refused to turn over the Alex Brown TOD account
to the Estate or to return the monies that he transferred out of the TOD account based upon his
contention that he has already spent all the monies approximately
31 million, that he had taken from Mary T. Grimley’s and Jane P. Sogliuzzo’s accounts

197. On or about September 22, 2008, on behalf of she and the Estate, Jane Adkins
filed a Verified Complaint and Order to Show Cause in the Superior Court of New Jersey,
Hudson County, Chancery Division seeking: (i) the return of the monies transferred intervivos
to John B. Sogliuzzo and for the benefit of his family; (ii) the titling of the Alex Brown TGD
account into the Estate of Jane P. Sogliuzzo; and (iii) the return of the 3107,000.00 transferred
out of the Alex Brown TGD account that were not used for Jane Sogliuzzo’s Estate and benefit
A true copy of that Verified Complaint is annexed hereto as Exhibit A.

198. Jane E. Adkins was a direct, major beneficiary of Mary T. Grimley and
Jane P. Sogliuzzo, and she was intentionally harmed by the actions of John B. Sogliuzzo.

199. Although Jane E. Adkins regarded it as a joke, at several family gatherings from
2000 to 2007, John B. Sogliuzzo announced that he “was going to screw Janie out of the house,”
meaning her parents’ Hoboken House. This remark was heard by several of Jane E. Adkins’

cousins

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200. Jane Adkins had brain surgery to remove a tumor on December 31, 2003. After
Jane Adkins’ brain surgery, John Sogliuzzo would tell the people at different parties/events that
Jane Adkins’ did not know anything or could not understand things because “she has a hole in
her head” or that “it’s the toomer.”

201. ln addition, Jane Adkins was also upset by John Sogliuzzo and/or Gaye Torrance
constant criticizing (i) Charlie’s and her careful spending habits; (ii) the fact that she and Charlie
do not fly first-class like they do; and (iii) the fact that Charlie and Jane Adkins live a far more
financially-reserved life-style, unlike their luxury lifestyle of country clubs personal shoppers
expensive clothing, fine dining out and expensive vacations

202. Considering just the liquid assets of the two major estates in which John
Sogliuzzo and Jane Adkins were to be equal beneficiaries John Sogliuzzo obtained, or sought to
obtain, a financial gain of over 31 .3 million over his sister, Jane Adkins as shown below:

Distributions per John B. Sogliuzzo

Financial Assets To John B. Sogliuzzo T0 Jane E. Adkins

Mary T. Grimley 3691,218 328,750

Jane P. Sogliuzzo 3637,889 - 0 -
TOTAL: 31,329,097 328,750

203. By his actions perpetrated over nine years, John B. Sogliuzzo, intentionally and
for his own benefit, sought to essentially disinherit his sister, Jane Adkins from nearly the
entirety of her rightly due financial expectations from her family assets using his trusted,
confidential, and fiduciary relationships

204. Confronted with the above accusations from March 2008 to July 2008, John
Sogliuzzo repeatedly lied to both Jane and Charlie Adkins about the TOD account and his other
financial misdealing, declaring on more than one occasion that he never stole from anyone,

repeatedly attacking Jane Adkins for questioning his honesty and his stewardship, and chastising

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her for being “all about the money.”
FIRST COUNT
BREACH OF FIDUCIARY DUTY - MARY T. GRIMLEY

205. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
204 of the Complaint as if set forth herein at length.

206. From the time Mary moved into the 3rd floor apartment in the Hoboken House in
September, John Sogliuzzo acted as a fiduciary for Mary with respect to her banking

207. Initially acting informally and then as of February 2004 under a financial Power
of Attomey, John Sogliuzzo misappropriated 379,976.00 from savings bond redemptions
328,850.00 from her savings account number **699; wrote 3200,116.00 in checks to himself and
his wife; wrote 38,500.00 in checks to his law firm; and wrote 343,267.00 in unusually large
checks to “Cash.”

208. John was trusted with another 370,000.00 plus in cash he was to deposit into her
accounts which has been unaccounted for and approximately 392,000.00 in pension and social
security benefits for the period September 2002 to October 2006.

209. Under N.J.S.A. 46:2B-8.13(a), John Sogliuzzo had a duty to act for the sole
benefit of Mary.

210. Under N.J.S.A. 46:2B-8.13(b), John Sogliuzzo had a duty to maintain accurate
books and records and account for all of the financial transactions he executed under a Power of
Attorney.

211. John Sogliuzzo breached his fiduciary duty to Mary in that he misappropriated
over 3360,000.00 for his and his family’s benefit to the detriment of Mary during her lifetime.

Another 3160,000.00 plus has not been accounted for.

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212. In addition to acting as an attorney in fact, John Sogliuzzo is an attorney at law of
the State of New Jersey, and he practices probate and criminal law.

213. John Sogliuzzo’s actions as aforesaid constitute breaches of: (a) the duty of
loyalty; (b) the breach of the duty to exercise reasonable skill and care; (c) negligence and failure
to perform his duties (d) attorney malpractice; (e) improper exercise of power causing damage
to plaintiff

214. As a consequence of these breaches Plaintiff has been damaged.

WHEREFORE, Plaintiff demands judgment for damages punitive damages attorney’s
fees and expenses costs of court; expenses interest and such other and further relief which is
just under the circumstances

SECOND COUNT
BREACH OF FIDUCIARY DUTY - MARY T. GRIMLEY’S ESTATE

215. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
214 of the Complaint as if set forth herein at length.

216. Mary died on October 16, 2006.

217. John Sogliuzzo assumed the role of Executor of her Estate on February 4, 2007

218. In his role as Executor, John Sogliuzzo wrote checks to himself and his law
practice in the amount of 3155,350.00 while shorting the other beneficiaries of the Estate
including Plaintiff to whom he distributed only 328,500.00 and her mother to which he
distributed only 35,000.00.

219. In his role as Executor of the Estate, John Sogliuzzo improperly transferred
3107,000.00 out of the Alex Brown Account, 330,000.00 of which he used as taxes for Mary’s

Estate, and 331,250 of which he transferred to his personal accounts

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220. John Sogliuzzo wrongfully and intentionally misrepresented that the single
328,750.00 distribution to Jane Adkins was her total distribution from Mary’s Estate.

221. John Sogliuzzo failed to pay his mother, Jane P. Sogliuzzo, her proper distribution
from Mary’s Estate during her lifetime (approximately 3200,000); therefore, further damaging
Plaintiff as a fifty percent (50%) beneficiary of her mother’s Estate.

222. John Sogliuzzo’s acts as aforesaid, constitute breaches of fiduciary duties with
regard to Mary’s estate and to his obligations owed to Plaintiff as a beneficiary of the Estate of
Mary,

223. Despite Plaintiff" s repeated requests to do so, John Sogliuzzo has not accounted
for the assets of Mary’s Estate or the disposition of the funds which he misappropriated during
her lifetime; nor has he returned these funds to the estate or to the rightful beneficiaries

224. As a consequence of John Sogliuzzo’S breaches of fiduciary duty, Plaintiff Jane
Adkins has been damaged.

WHEREFORE, Plaintiff demands judgment for damages punitive damages attomey’s
fees and expenses costs of court; expenses interest and such other and further relief which is
just under the circumstances

THIRD COUNT

ATTORNEY MALPRACTICE AGAINST JOHN B. SOGLIUZZO
IN THE ESTATE OF MARY T. GRIMLEY

225. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
224 of the Complaint as if set forth herein at length.

226. Both before and after her death, John Sogliuzzo wrote checks to his law firm,
from Mary’s accounts and later from the Estate Account

227. In providing legal, notary and fiduciary services to Mary and the Estate of Mary,

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John Sogliuzzo did not exercise the care and skill of a reasonable practitioner rendering such
services

228. In providing legal, notary and fiduciary services to Mary, John Sogliuzzo violated
trust, duties obligations standard of care and ethical standards required of his profession and his
position as an officer of the court

229. As a licensed attorney serving as executor of the estate of Mary T. Grimley, John
B, Sogliuzzo knowingly and intentionally violated his obligations to carry out the specific
bequests stated in her will, for his own personal benefit

230. Before Mary Grimley’s death and later to the Estate, John Sogliuzzo charged
legal fees that were unreasonable for any services being rendered.

231. As the Executor of the Estate of Mary Grimley, John Sogliuzzo charged legal fees
without providing any services and without invoices timesheets etc.

232. As the Executor of the Estate of Mary Grimley and the Estate of Jane P.
Sogliuzzo, John Sogliuzzo comingled funds between the Estates and between his attorney
business account; failing to keep client monies separate from those of his business entirety to the
detriment of the Plaintiff.

233. John Sogliuzzo as an attorney owed a duty to the Plaintiff as she was a
beneficiary of both the Estates of Mary and of her mother.

234. As a consequence of John Sogliuzzo’s negligent performance of his duties as an
attorney, Plaintiff has been damaged.

WHEREFORE, Plaintiff demands judgment for damages punitive damages attorney’s
fees and expenses costs of court; expenses interest and such other and further relief which is

just under the circumstances

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FOURTH COUNT
NEGLIGENCE OF JOHN B. SOGLIUZZO CAUSING HARM TO
JANE E. ADKINS AS TO MARY T. GRIMLEY
AND THE ESTATE OF MARY T. GRIMLEY

235. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
234 of the Complaint as if set forth herein at length.

236. John Sogliuzzo’s actions as aforesaid as agent and fiduciary for Mary, constitute
negligent handling of her personal assets

237. Jane Adkins was an intended beneficiary of the Estate of Mary as well as the
Estate of her mother and therefore it was foreseeable that she would be harmed by his actions

238. John Sogliuzzo’s negligent actions as attorney, agent, fiduciary and executor for
Mary constituted an unreasonable risk of harm to Jane Adkins

239. As a result of John Sogliuzzo’s actions Jane Adkins has been damaged

WHEREFORE, Plaintiff demands judgment for damages punitive damages attorney’s
fees and expenses costs of court; expenses interest and such other and further relief which is
just under the circumstances

The FIFTH COUNT and paragraphs 240 through 246 are intentionally omitted.

SIXTH COUNT
MALICIOUS MISREPRESENTATION CAUSING HARM

247. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
246 of the Complaint as if set forth herein at length.

248. As set forth herein John made misrepresentations of material facts to his mother,

cousins and his sister.

249. John knew that his statements were false and were made in reckless and careless

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disregard for the truth.

250. John intended that each of Mary Grimley, Jane P. Sogliuzzo and Jane E. Adkins
be induced to act upon the misrepresentations

251. Each of Mary Grimley, Jane P. Sogliuzzo and Jane E. Adkins acted upon the
misrepresentations and as a consequence each was damaged

252. Each of the Plaintiffs were reasonably expected to be recipients of the
misrepresentations

WHEREFORE, Plaintiff demands judgment for damages punitive damages
compensatory damages attorney’s fees and expenses costs of court; expenses interest and such
other and further relief which is just under the circumstances

SEVENTH COUNT

INTENTIONAL INFLICTION OF EMOTIONAL
DISTRESS BY JOHN B. SOGLIUZZO AGAINST JANE E. ADKINS

253. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
252 of the Complaint as if set forth herein at length.

254. Although John Sogliuzzo raided both his mother’s and cousin Mary’s accounts
both in their lifetime and as Executor of their Estates John Sogliuzzo told his sister that (i) their
mother wanted him to have all the money in her Alex Brown account; (ii) that for Plaintiff Jane
E. Adkins it was all about the money; (iii) that 328,750.00 was her total share of Mary’s Estate;
and (iv) that he had done nothing wrong and how dare she question his integrity.

255. In reality, John Sogliuzzo had stolen monies from his cousin, his mother, his
sister, Millie Braun, and the church, in the process violating criminal laws ethics morals and
everyone’s trust; has steadfastly refused to fulfill his obligations to account for these

transgressions and to make restitution, even after he was caught

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256. Jane Adkins had a brain tumor removed five (5) years ago and occasionally
Suffers from seizures associated with that procedure The extent and severity of these seizures is
directly affected by stress and tension.

257. John Sogliuzzo was aware of her condition and knowingly and intentionally
caused her emotional distress

258. John Sogliuzzo is an attorney who specializes in (among other areas) white collar
criminal litigation and probate disputes He has litigated the issues of undue influence to a
Successful conclusion.

259. As a result of the intentional acts of John Sogliuzzo, Jane Adkins’ seizures have
increased in severity and frequency requiring Jane Adkins to be hospitalized on
July 27-28, 2008 and additional medications to be prescribed to attempt to control her increased
anxiety associated with the on-going dispute with her brother and his behavior.

260. To date, the success of the additional medications has been limited The frequency
of her seizures has increased and can be shown to be directly relating to having to deal not only
with the disturbing and continual revelations of John’s numerous transgressions but also with
John’s manner of dealing with Jane Adkins about the violation to include denials counter
attacks cover-ups mistruths defamation, misrepresentations and withholding of documents and
of his required accounting records His intentional acts have forced Jane Adkins to be continually
exposed to these very emotional, stressful and hurtful circumstances

261. By his intentional actions John Sogliuzzo has done irreparable emotional harm to
Jane Adkins regarding Jane’s now unresolved relationship with her deceased mother, Jane P.
Sogliuzzo, in that Jane Adkins will never be able to discuss these circumstances with her..

262. By his transgressions and his subsequent actions John Sogliuzzo is responsible

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for causing Jane Adkins to undergo additional emotional distress because of the resultant
strained and/or damaged relationships with other members of her family, including her niece, her
nephew and her cousins

263. As a consequence, Plaintiff has been emotionally and physically damaged

WHEREFORE, Plaintiff demands judgment for damages punitive damages attorney’s
fees and expenses costs of court; expenses interest and Such other and further relief which is
just under the circumstances

EIGHTH COUNT

FRAUDULENT CONVEYANCE AGAINST
JOHN B. SOGLIUZZO AND L. GAYE TORRANCE

264. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
263 of the Complaint as if set forth herein at length.

265. Plaintiff Jane Adkins is a creditor of the Estate of Mary and the Estate of Jane
Sogliuzzo,

266. John Sogliuzzo through his actions herein has transferred monies to his wife Gaye
Torrance; to himself; to his law firm; and for the benefit of his children for less than adequate
consideration

267. These transfers were intentionally made to defraud Jane Adkins and to avoid
paying her what she was rightfully due

268. These transfers were made of property entrusted to John Sogliuzzo and were
made for his and Gaye Torrance’s benefit

269. As a consequence, the Plaintiff has been damaged

WHEREFORE, Plaintiff demands judgment against John Sogliuzzo and Gaye Torrance,

jointly and severally for damages attomey’s fees and expenses interest; costs of suit; and such

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other and further relief as this Court deems just
NINTH COUNT
UNDUE INFLUENCE
270. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
269 of the Complaint as if set forth herein at length.
271. During all pertinent times John Sogliuzzo occupied a confidential relationship
with his mother.
272. The transfer of her monies during her lifetime and the designation of the Alex
Brown Account to a TOD account to John Sogliuzzo’s benefit was the result of undue influence
273. As a result, the Plaintiff has been damaged
WHEREFORE, Plaintiff demands judgment for damages attomey’s fees and expenses
costs of court; punitive damages expenses interest and such other and further relief which is just
under the circumstances
TENTH COUNT

BREACH OF DUTY - NEGLIGENCE - RODMAN
D/B ALEX BROWN

274. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
273 of the Complaint as if set forth herein at length.

275. Tom Rodman owed a duty to Jane Sogliuzzo as her financial adviser and manager
of her Alex Brown account

276. Tom Rodman owed a duty to Jane Adkins as a beneficiary of Jane Sogliuzzo’s
Estate.

277. Tom Rodman was upon information and belief, the financial adviser to John

Sogliuzzo and manager of his his wife’s and their children’s accounts at Alex Brown.

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278. Tom Rodman had a conflict of interest when he met with an ill ninety-two (92)
year old woman (Jane P. Sogliuzzo) and did not exercise the care necessary to ascertain whether
creating a TOD account to John Sogliuzzo’s benefit was her voluntary and informed decision
and whether she had the capacity to make that decision and whether she had had an opportunity
for proper, independent counsel.

279. Tom Rodman breached the duty owed to Jane Sogliuzzo by failing to see his own
conflict, meeting with a ninety-two (92) year old woman to make this decision to the benefit of
his longtime clients and himself without taking the proper Safeguards in this an area fraught with
abuse

280. Upon information and belief, Tom Rodman was negligent in the hasty transfer of
the assets in the TOD account, to a newly created account for his long-term client, John
Sogliuzzo, putting his own interest first and failing to exercise the standard of care required of a
fiduciary, by DB Alex Brown’s own procedures and by the terms of the TOD agreement, to
verify John B. Sogliuzzo had been appointed executor of the estate and that there were no
disputes with regard to the TOD account

281. The Plaintiff, Jane E. Adkins was a foreseeable victim of Tom Rodman’s
negligence

282. Tom Rodman’s standard of care was not reasonable under the circumstances

283. As a consequence of Tom Rodman’s negligence, Plaintiff, Jane E. Adkins has
been damaged

WHEREFORE, Plaintiff demands judgment against Tom Rodman for damages
attomey’s fees and expenses interest; costs of suit; and such other and further relief as this Court

deems just

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ELEVENTH COUNT
MALPRACTICE/RODMAN/ALEX BROWN

284. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
283 of the Complaint as if set forth herein at length.

285. Tom Rodman holds himself out as a Certified Financial Planner.

286. Tom Rodman is employed in that capacity by Alex Brown.

287. As a client of both Tom Rodman and Alex Brown, Tom Rodman as a Certified
Financial Planner owed a duty to Jane P. Sogliuzzo of a reasonable professional in his/their field

288. Tom Rodman as a consequence Alex Brown did not exercise the standard of one
of a professed in his and its field. The actions of Rodman and Alex Brown constitute
professional malpractice As a consequence of his and Alex Brown’s malpractice, plaintiff has
been damaged

WHEREFORE, Plaintiff seeks judgment against Tom Rodman and Alex Brown for
damages attorney’s fees and expenses interest; costs of suit; and Such other and further relief as
this Court deems just

TWELFTH COUNT
AIDING IN THE COMMISSION OF A TORT - TOM RODMAN

289. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
288 of the Complaint as if set forth herein at length.

290. The actions of Tom Rodman as described herein constitute active participation
and aid to John Sogliuzzo in exercising undue influence over his mother.

291. The actions of Tom Rodman as described herein constitute active participation

and aiding a plan designed by John Sogliuzzo to fraudulently induce his mother to set up a TOD

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account for her Son to the detriment of her daughter, Plaintiff, Jane E. Adkins
292. AS a consequence, Plaintiff Jane Adkins has been damaged
WHEREFORE, Plaintiff demands judgment against Tom Rodman for damages
punitive damages attorney’s fees and expenses interest; costs of suit; and such other and further
relief as this Court deems just.
THlRTEENTH COUNT

CONSPIRACY TO COMMIT TORT
JOHN B. SOGLIUZZO AND TOM RODMAN

293. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
292 of the Complaint as if set forth herein at length.

294. John Sogliuzzo and Tom Rodman agreed that Tom Rodman would meet with
Jane Sogliuzzo to make her Alex Brown account a TOD account payable to John Sogliuzzo,

295. Upon information and belief, Jane P. Sogliuzzo was not competent to make the
decision to change the account designation

296. Upon information and belief, Jane Sogliuzzo did not know the nature of or extent
of her son’s transgressions both with respect to herself and Mary when she met with Rodman.

297. The design of the meeting was to commit a fraud on Jane Sogliuzzo and to unduly
influence her to make the TOD designation.

298. As a consequence of John Sogliuzzo’s and Todd Rodman’s actions in furtherance
of the conspiracy, Jane Adkins has suffered special damages

WHEREFORE, Plaintiff demands judgment against John Sogliuzzo and Tom Rodman
for damages punitive damages attorney’S fees and expenses interest; costs of suit; and such

other and further relief as this Court deems just

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FOURTEENTH COUNT
AIDING THE COMMISSION OF A TORT- L. GAYE TORRANCE

299. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
298 of the Complaint as if set forth herein at length.

300. Gaye Torrance is the wife of John Sogliuzzo.

301. Checks were written to Gaye Torrance by John Sogliuzzo both before and after
Mary Grimley’S death.

302. Upon information and belief, these checks were signed with the name Gaye
Torrance and deposited into her own accounts or into her joint accounts held with John
Sogliuzzo.

303. Further, Gaye Torrance knew about the deposits John Sogliuzzo was supposed to
make for Mary of the 370,000.00 plus in cash recovered while John Sogliuzzo and Jane Adkins
cleaned her apartment

304. Upon information and belief, Gaye Torrance has actively participated in the cover
up of these activities and in the removal of incriminating documents of both estates that were
kept at the Hoboken House.

305. Upon information and belief, Gaye Torrance either participated in, aided in or
encouraged John Sogliuzzo in his actions as aforesaid,

306. Gaye Torrance either through her silence or through active participation ratified
the actions done for her benefit

307. As a consequence of Gaye Torrance’s actions Jane Adkins has been damaged

WHEREFORE, Plaintiff demands judgment against Gaye Torrance for damages

punitive damages attorney’s fees and expenses interest; costs of Suit; and such other and further

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relief as this Court deems just
FIFTEENTH COUNT

CONSPIRACY TO COMMIT TORT
L. GAYE TORRANCE AND JOHN B. SOGLIUZZO

308. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
307 of the Complaint as if set forth herein at length.

309. Gaye Torrance and John Sogliuzzo agreed to misappropriate and retain monies
from Mary during her lifetime

310. The misappropriation constitutes fraud, conversion, theft by deception, undue
influence and numerous other torts

311. As a result of their conspiracy and the acts of John Sogliuzzo as described herein,
Plaintiff suffered special damages

WHEREFORE, Plaintiff demands judgment against John Sogliuzzo and Gaye Torrance
for damages punitive damages attorney’s fees and expenses interest; costs of suit; and such
other and further relief as this Court deems just

SIXTEENTH COUNT
THEFT BY DECEPTION

312. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
311 of the Complaint as if Set forth herein at length.

313. The actions of John Sogliuzzo and Gaye Torrance as described herein both in
cases of Mary and Jane Sogliuzzo constitute theft by deception against Plaintiff

314. As a consequence, Plaintiff has been damaged

WHEREFORE, Plaintiff demands judgment against John Sogliuzzo and Gaye Torrance

for damages punitive damages attorney’S fees and expenses interest; costs of suit; and such

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other and further relief as this Court deems just
SEVENTEENTH COUNT
CONVERSION AGAINST JOHN B. SOGLIUZZO

315. Plaintiff repeats and re-alleges the allegations contained in Paragraphs l through
314 of the Complaint as if Set forth herein at length.

316. The acts of John Sogliuzzo as set forth herein, constitute a wrongful conversion of
the assets of Mary Grimley.

317. The acts of John Sogliuzzo as Set forth herein constitute a wrongful conversion of
the assets of Jane Sogliuzzo.

318. John Sogliuzzo willfully and intentionally converted those assets and deprived
Jane Adkins of her right to possess her rightful share of those assets

319. Demand has been made on John Sogliuzzo for the return of these assets and all
demands have been refused

320. As a consequence of Such conversion, Plaintiff has been damaged

WHEREFORE, Plaintiff demands judgment against John Sogliuzzo for damages
punitive damages attomey’s fees and expenses interest; costs of suit; and such other and further
relief as this Court deems just

ElGHTEENTH COUNT
BREACH OF FIDUCIARY DUTY AGAINST TOM RODMAN

321. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
320 of the Complaint as if Set forth herein at length.

322. The acts of John in having his mother set up the TOD account represent a breach

of his fiduciary duty to her.

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323. The actions of John Sogliuzzo and Tom Rodman in transferring the assets out of a
TOD account and in transferring 3107,000.00 out of that account and into a special account for
John’s benefit represent a breach of John Sogliuzzo’s fiduciary duty to the Estate of Jane
Sogliuzzo and to his Sister Jane Adkins as a beneficiary of the Estate.

324. The acts of Tom Rodman represent a participation in the acquisition, disposition,
and assignment and/or transferring of assets to the fiduciary by failing to inquire whether the
transfer involved a breach of the fiduciary duty.

325. As a consequence of Tom Rodman’s participation, he is liable to the Plaintiff for
her damages incurred as a result of the breach of the fiduciary.

WHEREFORE, Plaintiff demands judgment against John Sogliuzzo and Tom Rodman
for damages punitive damages attorney’s fees and expenses interest; costs of suit; and Such
other and further relief as this Court deems just

NINETEENTH COUNT

FRAUDULENT CONCEALMENT BY FIDUCIARY
JOHN SOGLIUZZO (INTERVIVOS TRANSFERS)

326. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
325 of the Complaint as if set forth herein at length.

327. F rom September 2002 to her death, John Sogliuzzo was in a fiduciary relationship
with his cousin Mary,

328. John Sogliuzzo was misappropriating monies from the cash found in her
apartment; from his redemption of Mary’s savings bonds by shorting deposits to her accounts
and by Writing checks to himself and his wife and by otherwise misappropriating funds

329. John Sogliuzzo intentionally concealed by not disclosing facts to Mary.

330. As a consequence, the Estate of Mary and Plaintiff as a beneficiary of the Estate

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of Mary and as a beneficiary of the Estate of Jane Sogliuzzo has been damaged

WHEREFORE, Plaintiff demands judgment against John Sogliuzzo for damages
punitive damages attomey’s fees and expenses interest; costs of suit; and Such other and further
relief as this Court deems just

TWENTIETH COUNT
FRAUDULENT CONCEALMENT AGAINST
JOHN B. SOGLIUZZO AS FIDUCIARY OF JANE P. SOGLIUZZO

331. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
330 of the Complaint as if set forth herein at length.

332. Since his father’s death in January 1999, John Sogliuzzo had a confidential
relationship with his mother.

333. John Sogliuzzo had a fiduciary obligation to mother during her lifetime and as a
consequence to his sister who is a beneficiary of her estate

334. John misappropriated funds from his mother during her lifetime, to the extent that
there are no liquid financial assets to be bequeathed to her daughter, Jane Adkins

335. John intentionally concealed these material facts from his mother.

336. Upon information and belief had Jane Sogliuzzo known what her Son was doing
with regard to Mary and her own monies even if she was competent to do so, she never would
have approved John Sogliuzzo’S financial withdrawals and would have never set up the TOD
account for his sole benefit

337. As a consequence of his fraudulent concealment Jane Adkins has been damaged

WHEREFORE, Plaintiff demands judgment against John Sogliuzzo for damages

punitive damages attomey’s fees and expenses interest; costs of suit; and such other and further

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relief as this Court deems just
TWENTY-FlRST COUNT
INTENTIONAL FRAUD AS TO JOHN SOGLIUZZO

338. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
337 of the Complaint as if set forth herein at length.

339. According to John Sogliuzzo he told his mother that he was having business
problems and needed the monies in her TOD account

340. He did not however mention to her his theft of hundreds of thousands of dollars
from her or her cousin Mary,

341. As a fiduciary, John Sogliuzzo had the obligation to disclose and account for his
actions

342. The knowing failure of John to disclose his actions with his intent that his mother
rely on his silence

343. Upon information and belief, the agreement to enter into a contract to change the
Alex Brown account to TOD status even if she was competent, was the result of her reliance that
John Sogliuzzo was a good and trustworthy individual.

344. As a consequence, the Plaintiff as a beneficiary of the Estate of Jane Sogliuzzo
has been damaged

WHEREFORE, Plaintiff demands judgment against John Sogliuzzo for damages
punitive damages attorney’s fees and expenses interest; costs of suit; and such other and further

relief as this Court deems just

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TWENTY-SECOND COUNT

BREACH OF FIDUCIARY DUTY
ESTATES OF MARY T. GRIMLEY AND JANE P. SOGLIUZZO

345. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
344 of the Complaint as if Set forth herein at length.

346. John Sogliuzzo was an Executor of the Estates of Mary and Jane Sogliuzzo.

347. Jane Adkins was a beneficiary of each of these Estates

348. John Sogliuzzo owed a fiduciary duty to Jane Adkins

349. John Sogliuzzo’s actions as aforesaid in inter alia misappropriated funds Writing
checks to his own benefit and to his wife; intentionally preferring himself over other
beneficiaries constitute breaches of his fiduciary duties of the two Estates

WHEREFORE, Plaintiff demands judgment against John Sogliuzzo for damages
punitive damages attomey’s fees and expenses interest; costs of suit; and such other and further
relief as this Court deems just

TWENTY-TH!RD COUNT
PUNITIVE DAMAGES AGAINST JOHN SOGLIUZZO

350. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
349 of the Complaint as if set forth herein at length.

351. John Sogliuzzo intentionally and knowingly committed torts against Mary; Jane
Sogliuzzo; and his sister Jane Adkins

352. As a consequence and result of John Sogliuzzo’s actions Jane Adkins has been
damaged

353. John Sogliuzzo’s actions were precipitated by his own greed and his actions were

effectuated with actual malice and wanton disregard of his sister who he knew and intended to be

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harmed by his conduct

354. In addition to compensatory damages Jane Adkins is entitled to punitive
damages

WHEREFORE, Plaintiff demands judgment against John Sogliuzzo for damages
punitive damages attomey’s fees and expenses interest; costs of suit; and such other and further
relief as this Court deems just

TWENTY-FOURTH COUNT
ELDER ABUSE

355. Plaintiff repeats and re-alleges the allegations contained in Paragraphs l through
354 of the Complaint as if set forth herein at length.

356. John Sogliuzzo’s actions as detailed herein with both Jane P. Sogliuzzo and Mary
T. Grimley constitute the tort of elder abuse

357. As a consequence of John Sogliuzzo’s actions Plaintiff has been damaged

WHEREFORE, Plaintiff demands judgment against John Sogliuzzo for damages
punitive damages attomey’s fees and expenses punitive damages interest; costs of suit; and
such other and further relief as this Court deems just

TWENTY-FIFTH COUNT
RESPONDENT SUPERIOR AGAINST ALEX BROWN

358. Plaintiff repeats and re-alleges the allegations contained in Paragraphs l through
357 of the Complaint as if set forth herein at length.

359. Tom Rodman’s wrongful actions as described herein were committed within the
scope of his employment duties with Alex Brown.

360. Tom Rodman’s actions as described herein were the kind of actions that Tom

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Rodman is employed to perform.

361. Tom Rodman’s actions in converting Jane Sogliuzzo’s account to a TOD account
for the benefit of John Sogliuzzo and in transferring the assets to John B. Sogliuzzo prematurely
and negligently were on Alex Brown’s time and within its space

362. Tom Rodman’s actions were intended in part to benefit Alex Brown.

363. Alex Brown’s failure to exercise reasonable care and supervision over Tom
Rodman resulted in damages to Plaintiff

WHEREFORE, Plaintiff demands judgment against Alex Brown under the doctrine of
respondent superior for damages attorney’s fees and expenses interest; costs of suit; and such
other and further relief as this Court deems just

TWENTY-SIXTH COUNT
WASTING ANOTHER’S PROPERTY OR INHERITANCE

364. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
363 of the Complaint as if set forth herein at length.

365. As set forth herein, John Sogliuzzo wasted and destroyed Jane Adkins’ rightful
inheritance from her mother and her cousin Mary,

366. As a consequence Plaintiff Jane Adkins has been damaged

WHEREFORE, Plaintiff demands judgment against John Sogliuzzo for treble damages
attorney’s fees and expenses interest; costs of suit; and such other and further relief as this Court

deems just

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TWENTY-SEVENTH COUNT
CONVERSION OF MARY T. GRIMLEY’S ASSETS

367. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
366 of the Complaint as if set forth herein at length.

368. The actions of John Sogliuzzo as set forth herein constitute unlawful conversion
of Mary’s assets both during her lifetime and from her estate

369. The Plaintiff is a beneficiary of Mary and her Estate.

370. As a consequence of John Sogliuzzo’s conversion of Mary’s assets the Plaintiff
has been damaged

WHEREFORE, Plaintiff demands judgment against John Sogliuzzo for damages
punitive damages attorney’s fees and expenses interest; costs of suit; and such other and further
relief as this Court deems just

TWENTY-EIGHTH COUNT
CONVERSION OF JANE P. SOGLIUZZO’S ASSETS

371. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
369 of the Complaint as if set forth herein at length.

372. The actions of John Sogliuzzo as set forth herein constitute unlawful conversion
370 of Jane Sogliuzzo’s assets both during her lifetime and from her estate

373. As a consequence of John Sogliuzzo’s conversion of Jane Sogliuzzo’s assets the
Plaintiff, as a beneficiary of Jane Sogliuzzo has been damaged

WHEREFORE, Plaintiff demands judgment against John Sogliuzzo for damages
punitive damages attorney’s fees and expenses interest; costs of suit; and such other and further

relief as this Court deems just

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TWENTY-NINTH COUNT
NEGLIGENCE
ALLOWING MISAPPROPRIATIONS BY FIDUCIARY AGAINST
TD BANK FROM CHECKING & SAVINGS ACCOUNTS

374. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
373 of the Complaint as if set forth herein at length.

375. Hudson Bank n/k/a TD Bank was the bank where Jane Sogliuzzo did her banking

376. Hudson Bank should have had a Power of Attorney or signature card on file for
John B. Sogliuzzo on each of Jane Sogliuzzo’s accounts but did not do so.

377. John Sogliuzzo did not have a Power of Attorney for Jane Sogliuzzo until
November 2006 and TD Bank never kept one on file

378. Prior to John Sogliuzzo receiving a Power of Attomey for his mother, John wrote
checks to himself and endorsed the checks in his own handwriting, and continued this same
practice after the Power of Attorney.

379. Hudson Bank cashed the checks even though they knew that the signature did not
match the one they had on file. TD Bank (Hudson Bank) also allowed John B. Sogliuzzo to
make numerous withdrawals and transfers from Jane P. Sogliuzzo’s savings accounts without
verifying that he was authorized to do so.

380. The actions of Hudson Bank n/k/a TD Bank in failing to take the proper
safeguards in this situation allowed John Sogliuzzo to commit forgery and conversion, and they
do not rise to the standard of care owed to its depositors for a banking institution.

WHEREFORE, Plaintiffs demand judgment against TD Bank for negligence, awarding

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damages attorney’s fees and expenses interest; costs of court and such other and further relief
as is just in the circumstances
THIRTIETH COUNT
GROSS NEGLIGENCE AGAINST TD BANK

381. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
380 of the Complaint as if set forth herein at length.

382. Jane P. Sogliuzzo had three (3) signature cards on file with TD Bank.

383. Each of the signature cards were executed in 1999; after John Sogliuzzo took over
his mother’s finances The first dated March 10, 1999; the second April 5, 1999; and the third
June l, 1999.

384. TD Bank had no Power of Attorney on file for John Sogliuzzo,

385. TD Bank cashed checks and cleared checks with forged signatures for John
Sogliuzzo on his mother’s account without verifying the signature; without checking for
identification; without asking for a Power of Attorney.

386. The actions of TD Bank as aforesaid constitute gross negligence

387. As a result of TD Bank’s gross negligence the Plaintiff has been damaged

WHEREFORE, Plaintiffs demand judgment against TD Bank for negligence, awarding
damages punitive damages attorney’s fees and expenses interest; costs of court and such other
and further relief as is just in the circumstances

THIRTY-FIRST COUNT
BREACH OF FIDUCIARY DUTIES AGAINST TD BANK
388. Plaintiff repeats and re-alleges the allegations contained in Paragraphs l through

387 of the Complaint as if set forth herein at length.

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389. As a customer of TD Bank, TD Bank owed a fiduciary duty to Jane D. Sogliuzzo.

390. TD Bank violated its fiduciary duty to Jane P. Sogliuzzo by allowing John B.
Sogliuzzo to use an unauthorized signature to endorse fraudulent instruments and to make
unauthorized withdrawals and inter-account transfers all without a Power of Attomey from Jane
P. Sogliuzzo.

391. As a result of TD Bank’s breach of fiduciary duty, Plaintiff has been damaged

WHEREFORE, Plaintiffs demand judgment against TD Bank for negligence awarding
damages attorney’s fees and expenses interest; costs of court and such other and further relief
as is just in the circumstances

THIRTY-SECOND COUNT

BREACH OF FIDUCIARY DUTY AGAINST
TOM RODMAN AND ALEX BROWN

392. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
391 of the Complaint as if set forth herein at length.

393. Because she was an account holder of Alex Brown and Tom Rodman was her
financial advisor, each owed a fiduciary duty including a duty of loyalty to Jane P. Sogliuzzo.

394. Tom Rodman and Alex Brown also held accounts for the benefit of Defendants
John B. Sogliuzzo and Gaye Torrance and their children.

395. The acts of Tom Rodman as aforesaid and consequently Alex Brown violated that
fiduciary duty to Jane P. Sogliuzzo.

396. As a consequence Tom Rodman and Alex Brown’s breach of fiduciary duty,
Plaintiff has been damaged

WHEREFORE, Plaintiffs demand judgment against Tom Rodman and Alex Brown for

breach of fiduciary duty, awarding damages attorney’s fees and expenses interest; costs of court

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and such other and further relief as is just in the circumstances
THIRTY-THIRD COUNT
UNDUE INFLUENCE ON MARY’S INTERVIVOS TRANSFERS

397. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
396 of the Complaint as if set forth herein at length.

398. The intervivos transfers made from Mary’s accounts to John Sogliuzzo and/or
Gaye Torrance for the benefit of himself or his family were the result of undue influence

399. As a result of his undue influence upon Mary Grimley, the Plaintiffs have been
damaged

WHEREFORE, Plaintiffs demand judgment against Defendants John Sogliuzzo and
Gaye Torrance for undue influence awarding damages attorney’s fees and expenses interest;
costs of court and such other and further relief as is just in the circumstances

THIRTY-FOURTH COUNT
NEGLIGENCE
ALLOWING MISAPPROPRIATIONS BY FIDUCIARY AGAINST
HAVEN SAVINGS BANK FROM CHECKING & SAVINGS ACCOUNTS

400. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through
399 of the Complaint as if set forth herein at length.

401. Haven Savings Bank was the bank where Mary Grimley did most of her banking

402. Haven Savings Bank knew Mary Grimley as well as her saving and spending
habits based upon years of its experience with her

403. Haven Savings Bank and its personnel were well aware of Mary Grimley’s age

and deteriorating physical and mental condition both before and after an alleged power of

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attorney was tendered to them by John Sogliuzzo for his benefit That power of attorney was not
signed by Mary T. Grimley in the presence of the notary. John Sogliuzzo’s secretary notarized it
upon his instruction.

404. The checks for cash that John Sogliuzzo tendered to Haven Savings Bank after he
secured the alleged power of attorney were uncharacteristically large and beyond those required
for Mary Grimley’s living expenses and care

405. The checks that John Sogliuzzo tendered to Haven Savings Bank written to himself;
his law firm and his wife were uncharacteristic and extremely large These withdrawals should
have been evident to Haven Savings Bank that they were at best intervivos transfers which by
operation of law were the result of undue influence by a person or persons with a confidential
relationship.

406. The cashing in of Mary Grimley’s savings bonds and those that her brothers had left
her in the amount of 3250,000-3260,000 by John Sogliuzzo (which started in 2002) was
uncharacteristic of Mary Grimley who never cashed in savings bonds The systematic cashing of
these savings bonds by John Sogliuzzo combined with his regular practice of withholding large
sums of cash from these redemptions should have alerted Haven Savings Bank to the nature of
his unlawful actions

407. John Sogliuzzo activities with respect to Mary’s savings accounts were similar in
nature and magnitude to his actions concerning of her savings bonds lt was uncharacteristic for
Mary to withdraw the principal from a savings account She would live on the interest The
systematic depletion of Mary Grimley’s financial assets and the taking of large quantities of cash
by John Sogliuzzo were uncharacteristic of Mary Grimley’s spending habits and far in excess of

what was needed to support her.

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408. Haven Savings Bank repeatedly turned a blind eye to the numerous activities of
John B. Sogliuzzo relying on an invalid power of attorney, Even with a valid power of attorney
at best, his activities would constitute undue influence .

409. Haven Savings Bank failed to exercise a reasonable standard of take the proper
safeguards to prevent the systematic decimation of Mary Grimley’s assets that she and her
family had accumulated over two generations. Any objective observer would have recognized
and investigated John Sogliuzzo’s actions considering their knowledge and familiarity with Ms..
Grimley and the propensity for elder abuse under a power of attorney,

410. Haven Savings Bank failed to act reasonably under the circumstances and their
actions or lack thereof did not rise to the duty of care owed to its depositors for a banking
institution. As a result of Haven Savings Bank’s negligence John Sogliuzzo was able to make
almost 3500,000 in intervivos transfers to his his firm and his wife’s benefit

411. Further, the writing of disproportionately large checks on the Estate Account of
another approximately 3200,00 to himself and his law firm should have further alerted Haven
Saving Bank of John Sogliuzzo’s improper and illegal activities.

WHEREFORE, Plaintiffs demand judgment against Haven Savings Bank for
negligence awarding damages attorney’s fees and expenses interest; costs of court and such
other and further relief as is just in the circumstances

THIRTY FIFTH COUNT
GROSS NEGLIGENCE AGAINST HAVEN SAVINGS BANK

412. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through

411 of the Complaint as if set forth herein at length.

413. Mary T. Grimley banked at Haven Savings Bank for years

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4l4. Until her health was failing in 2002, Mary T. Grimley would personally walk to the
Haven Savings Bank on a regular basis

415. Haven Savings Bank knew Mary and her spending and her savings habits The Bank
observed her “conserve the principal” mentality and John Sogliuzzo’s pattern of raiding the
principal, cashing in savings bonds cashing checks and writing huge sums of money to himself
his law practice and his wife were so contrary to Mary’s habits witnessed by the bank over years
that it should have alerted Haven Savings Bank to the unlawful activities he was perpetrating

416. At a minimum the intervivos transfers to a person with a confidential relationship
with Mary as evidenced by his transacting her banking business and the existence of an alleged
power of attorney, constituted an undue influence transfer which would later call Haven Savings
Bank’s actions into question.

417. The failure to take proper actions to safeguard Mary Grimley’s accounts at Haven
Savings Bank along with their unquestioning willingness to redeem her family savings bonds
constitutes gross negligence

418. As a result of Haven Savings Bank gross negligence the Plaintiff has been
damaged

WHEREFORE, Plaintiffs demand judgment against Haven Savings Bank for gross
negligence awarding damages punitive damages attorney’s fees and expenses interest; costs of
court and such other and further relief as is just in the circumstances

THIRTY-SIXTH COUNT
BREACH OF FIDUCIARY DUTIES AGAINST HAVEN SAVINGS BANK
419. Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through

418 of the Complaint as if set forth herein at length.

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420. As a customer of Haven Savings Bank, Haven Savings Bank owed a fiduciary
duty to Mary T. Grimley,

421. Haven Savings Bank violated its fiduciary duty to Mary T. Grimley by allowing
John B. Sogliuzzo to raid her accounts cash large and uncharacteristic checks to cash, negotiate
large checks to himself, his firm and his wife, cashing in savings bonds that had been held for
decades By failing to act Haven Savings Bank allowed John Sogliuzzo to decimate the life
savings of a sick, frail and elderly patron who they had known for years both before and after
the presentation of an alleged Power of Attorney which had never been properly witnessed or
notarized

422. As a result of Haven Savings Bank’s breach of fiduciary duty, Plaintiff has been
damaged

WHEREFORE, Plaintiffs demand judgment against Haven Savings Bank for breach of
fiduciary duty, awarding damages attorney’s fees and expenses interest; costs of court and such
other and further relief as is just in the circumstances

CERTIFICATION PURSUANT TO L. Civ. R. 11.2

I hereby certify that except for the following, the matters in controversy are not the subject
of any other action pending in any court, or of any pending arbitration or administrative proceeding:
In The Matter of the Estate of Jane P. Sogliuzzo, Superior Court of New Jersey, Chancery Division,

Probate Part, Hudson County, Docket No. 2965 80 and In the Matter of the Estate of Mary T.

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Grimley, Superior Court of New Jersey, Chancery Division, Probate Part, Hudson County.

By: s/Dennis F. Gleason
Dennis F. Gleason

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Dated: January 13, 2012

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